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UNITED STATES DISTRICT COURT
DISTRICT OF MASSACHUSETTS

UNITED STATES OF AMERICA )

)

Vv. ) Cr. No. 18-10450-MLW

)

ERICK LOPEZ FLORES, )
HENRI SALVADOR GUTIERREZ, )
ELISEO VAQUERANO CANAS, )
JONATHAN TERCERO YANES, )
MARLOS REYES, and )
DJAVIER DUGGINS, )
Defendants. )

ORDER

WOLF, D.J. October 19, 2020

With regard to the videoconference on October 22, 2020, at
1:30 p.m., concerning the pending motions, it is hereby ORDERED
that:

1. In view of the concerns raised by the government in
its response (Dkt. No. 368) to defendant Henri Salvador
Gutierrez's Motion for Injunctive Relief (Dkt. No. 349), the
court may question Salvador Gutierrez and his counsel about a
possible conflict of interest. Therefore, Salvador Gutierrez
shall attend the October 22, 2020 conference.

2. Salvador Gutierrez's Motion for Leave to File a Reply
to the Government Response to His Motion for Injunctive Relief
(Dkt. No. 369) is ALLOWED.

3. The government and defendants Jonathan Tercero Yanes,

Eliseo Vaquerano Canas, and Djavier Duggins shall, by 12:00 noon
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on October 21, 2020, state whether they propose to call any
witnesses to testify on any matter relating to defendants'
pending motions in limine regarding co-conspirator statements
(Dkt. Nos. 334, 352) and, if so, who. Regardless of whether
they propose to call witnesses, they shall also state whether or
not they each agree to the October 29, 2020 hearing being
conducted by videoconference.

4, Defendants Tercero Yanes and Vaquerano Canas shall, by
12:00 noon on October 21, 2020, file a redacted version of their
joint motion in limine (Dkt. No. 352) on the public docket.

5. The parties shall be prepared to discuss on October
22, 2020, defendant Salvador Gutierrez's pending Motion for
Extension of Time to October 30, 2020 to File a Motion to
Suppress Statements Made by Him to CW-13 (Dkt. No. 367),
particularly whether the hearing on the pending motions in
limine can appropriately be conducted as scheduled on October

29, 2020 if Salvador Gutierrez's motion is allowed.}

 

1 The court questions whether Salvador Gutierrez's co-defendants
would have standing to join his motion to suppress. Although
the court intended to conduct the hearings in tandem, if they do
not, it may be appropriate to grant Salvador Gutierrez until
October 30, 2020 to file his motion and conduct the hearings
separately.

 

 
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UNITED STATES DISTRICT JU
